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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HOWARD COHAN,

                       Plaintiff,

V.                                                    Case Number: 1:16-cv-08209

PENINSULA CHICAGO, LLC, d/b/a                         Judge Robert W. Gettleman
PENINSULA CHICAGO

                       Defendant.



                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, HOWARD COHAN, by and through undersigned counsel, hereby files his

Notice of Voluntary Dismissal of this Action with prejudice pursuant to Rule 41(a)(1) of the

Federal Rules of Civil Procedure, and gives notice of the following:

       1.      Defendant, PENINSULA CHICAGO, LLC. ("Defendant"), has not filed an

Answer or a Motion for Summary Judgment and therefore the dismissal of this action at

Plaintiffs request is proper pursuant to Fed. R. Civ. P. 41(a).

       2.      This case shall be dismissed with prejudice against Defendant with each party

bearing their own attorneys' fees and costs.

Dated: November 30, 2016
                                               BY: /s/ Jason S. Weiss
                                                     Jason S. Weiss
                                                     JasonAswlawyer.com
                                                     Florida Bar No. 356890
                                                     WEISS LAW GROUP, P.A.
                                                     5531 N. University Drive, Suite 103
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 30th day of November, 2016, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which automatically gives
notice to all parties of record.


                                          BY: /s/ Jason S. Weiss
                                                  Jason S. Weiss
                                                 JasonA swlawyer.com
                                                 Florida Bar No. 356890
